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                                                                                             2018 Oct-26 PM 03:51
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 JAMES BARBER,                                  )
                                                )
        Plaintiff,                              )
 v.                                             )
                                                )    Case No.: 2:15-cv-00997-JHE
 HUGH HOOD, et al.,                             )
                                                )
        Defendants.                             )
                                                )

                                           ORDER

       To avoid jury confusion, the case caption is modified as set out above. The parties are

ORDERED to use this new case caption in all future filings. The Clerk is DIRECTED to

update CM/ECF to reflect the changed caption.

       DONE this 26th day of October, 2018.




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                                            JOHN H. ENGLAND, III
                                            UNITED STATES MAGISTRATE JUDGE
